Case 1:16-cv-01031-TSE-MSN Document 192 Filed 06/20/18 Page 1 of 3 PageID# 3580




                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Virginia
 __________________________________________
                                                    )
 STEVEN KNURR, Individually and on Behalf of )
       All Others Similarly Situated,               )
                                                    )
                              Plaintiff,            )
       v.                                           )       No. 1:16-cv-01031-TSE-MSN
                                                    )
 ORBITAL ATK, INC., et al.,                         )
                                                    )
                              Defendants.           )
                                                    )

                                       MOTION TO SEAL

        PURSUANT TO Local Civil Rule 5(C), Lead Plaintiff moves for leave to file a redacted

 brief (Doc. 190) under seal (filed under seal as Doc. 191). The brief quotes from an exhibit

 previously filed under seal. The grounds and reasons for granting this relief have been stated

 with particularity Lead Plaintiff’s previously filed sealing motion brief (Doc. 178).

        Respectfully submitted, this 20th day of June 2018.

                                                    /s/ Craig C. Reilly
                                                    Craig C. Reilly (VSB # 20942)
                                                    111 Oronoco Street
                                                    Alexandria, Virginia 22314
                                                    T: 703/549-5354
                                                    F: 703/549-5355
                                                    E: craig.reilly@ccreillylaw.com
                                                    Liaison Counsel for Lead Plaintiff

 ROBBINS GELLER RUDMAN
 & DOWD LLP
 SAMUEL H. RUDMAN
 58 South Service Road, Suite 200
 Melville, NY 11747
 Telephone: 631/367-7100
 631/367-1173 (fax)
Case 1:16-cv-01031-TSE-MSN Document 192 Filed 06/20/18 Page 2 of 3 PageID# 3581




 ROBBINS GELLER RUDMAN
 & DOWD LLP
 JAMES E. BARZ
 FRANK RICHTER
 200 South Wacker Drive, 31st Floor
 Chicago, IL 60606
 Telephone: 312/674-4674
 312/674-4676 (fax)

 ROBBINS GELLER RUDMAN
 & DOWD LLP
 MAUREEN E. MUELLER
 KATHLEEN B. DOUGLAS
 120 East Palmetto Park Road, Suite 500
 Boca Raton, FL 33432
 Telephone: 561/750-3000
 561/750-3364 (fax)

 ROBBINS GELLER RUDMAN
 & DOWD LLP
 JOHN C. HERMAN
 PETER M. JONES
 Monarch Tower, Suite 1650
 3424 Peachtree Road, N.E.
 Atlanta, GA 30326
 Telephone: 404/504-6500
 404/504-6501 (fax)
 Lead Counsel for Plaintiff

 VANOVERBEKE MICHAUD &
 TIMMONY, P.C.
 THOMAS C. MICHAUD
 79 Alfred Street
 Detroit, MI 48201
 Telephone: 313/578-1200
 313/578-1201 (fax)
 Additional Counsel for Plaintiff Wayne County
 Employees’ Retirement System
Case 1:16-cv-01031-TSE-MSN Document 192 Filed 06/20/18 Page 3 of 3 PageID# 3582




                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 20, 2018, I filed the foregoing pleading or paper through the

 Court’s CM/ECF system, which sent a notice of electronic filing to all registered users.

                                                      /s/ Craig C. Reilly
                                                      Craig C. Reilly (VSB # 20942)
                                                      111 Oronoco Street
                                                      Alexandria, Virginia 22314
                                                      T: 703/549-5354
                                                      F: 703/549-5355
                                                      E: craig.reilly@ccreillylaw.com
                                                      Liaison Counsel for Lead Plaintiff
